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UN|TED STATES D|STR|CT COURT

FOR THE D|STR|CT OF UTAH, CENTRAL D|V|SlON

 

World Wide Association of Specialty ) MOT|ON FOR PROTECT|VE ORDER
Programs, a Utah Corporation, :
)

P|aintiff,
V.

PURE, |nc., PURE Foundation, |nc. : Case Number:2:02-cv-00010PGC
Sue Scheff, and Does l through 10, )

‘. Judge Pau| G. Cassell
Defendants. )

 

Pursuant to Federal Rules of Civil Procedure 30(d)(3) and 26(c), Defendants
PURE, lnc., PURE Foundation, |nc., and Sue Scheff (collective|y “Defendants”) by and
through counsel respectfully move this Court for a protective order providing that the
following discovery not be had:

- That the portions of Sue Scheff’s deposition discussing the programs to

which Defendants refer be sealed.

 

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' That Plaintiff not be allowed to make contact in any way related to or in
reference to this lawsuit or any of the people involved, with the programs
to which Defendants refer clients in the course of their referral business.

- That Plaintiff’s attorneys not be allowed to divulge to the anyone the
names or other identifying information about the programs to which the
Defendants refer.

Good cause for this protective order exists because: (1) the programs to which
the Defendants refer are irrelevant to the present litigation; (2) the programs are a trade
secret and confidential information; and (3) contact or other access to the programs by
Plaintiff would result in annoyance, embarrassment. oppression, and undue burden to
Defendants. This Motion is supported by the Nlemorandum in Support of Defendants’

lVlotion for Protective Order filed herewith.

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DATED this /é day of April, 2003.

LMZ&;

j C. Richard Henriksen, Jr.
James E. Seaman
Aaron W. Flater
Attorneys for Defendants PURE & Sue Scheff

 

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CERTlFICATE OF MAlLlNG
M
l hereby certify that on this /é day of April, 2003, a true and correct copy
of the foregoing MOTION FOR PROTECT|VE ORDER, was mailed postage prepaid, to

the following:

Fred R. Silvester

Dennis J. Conroy

Spencer Siebers

SlLVESTER & CONROY, L.C.
Attorneys for Plaintiff

230 South 500 East, Suite 590
Salt Lake City, Utah 84102

 

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